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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

 

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TAMARA M. STAINTON,

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Plainriff, CASE No. 8 115 ' Ov» iS'Leo »"(-Q@yg_s
vs. JURY TRIAL DEMANDED
woRLD 0MN1 FINANCIAL coRP.,
d/b/a soUTHEAsT TOYOTA FINANCE,
Del`endant.
/
coMPLAlNT

Plaintiff, TAMARA M. STAINTON (“Plaintiff”), alleges the following Complaint against

Defendant, WORLD OMNI FINANCIAL CORP., d/b/a SOUTHEAST TOYOTA FINANCE
(“Dei`endant”):

l. This is an action for damages f`or violations of the Telephone Consumer Protection

Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.
§§ 559.55 et seq. (“FCCPA”).

PARTIES

2. Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(2).

3. Defendant is a foreign company that conducts business in Florida. Del`endant has a

registered agent located in the state of Florida, and the actions forming the basis of this Cornplaint
took place at Plaintiff’s home location in this district.

4. Defendant is a “person” subject to regulation under Fla. Stat. § 559.72.
5. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number,

(727-XXX-0043), and was the called party and recipient of Defendant’s autodialer calls.

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JURISDICTION AND VENUE

6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA claim, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § l367(a), as such claims are so closely related so as to form part of the same case or
controversy

7. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGATIONS

8. Plaintil`f allegedly incurred a consumer debt With Defendant (“Subject Debt”).

9. The Subject Debt is considered a “consumer debt” as defined by the FCCPA, as it
constitutes an obligation for the payment of money arising out of a transaction in which the money
and/or services which was the subject of the transaction was primarily for Plaintiff`s personal,
family, or household purposes.

10. On December l, 2017, made a payment to Defendant, which was charged back on
December 6, 2017, due to an error by the Defendant.

ll. As a result of Defendant’s error, they began a campaign of calling Plaintii`l"s cell
phone in an attempt to collect the Subjcct Debt.

12. On November 22, 2017, Defendant placed an automated call to Plaintiff’s cell phone
in an attempt to collect the Subject Debt. Plaintifi` requested Defendant to stop calling her cell

phone.

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l3. Despite Plaintiff’ s requests, Defendant autodialed Plaintift’s cell phone 95 times.
See Exhibit A.

14. Further, on January 1, March 9, and May 7, 2018, Plaintiff requested Defendant to
stop calling her cell phone because she hadjust made a payment.

15. Despite Plaintiff’s multiple requests, Defendant continued to place automated calls
to her cell phone in an attempt to collect the Subject Debt.

16. Defendant routinely used an automatic telephone dialing system (“ATDS”) to call
P|aintifi` on her cellular phone, for which Plaintiff was charged, without Plaintifl"s prior express
consent, and alier Plaintiff demanded that Defendant stop calling her cellular phone.

17. Further, Defendant has a corporate policy to use an ATDS and has numerous other
federal lawsuits pending against them alleging similar violations and facts as stated in this
complaint

18. Despite Plaintil`f informing the Defendant for her reasons of non-payment towards
the Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt,
the Defendant continued its efforts to try and collect the Subject Debt from Plaintiff. As a result, the
Defendant’s subsequent attempts to persuade Plaintil`f" were made with the intent to simply exhaust
Plaintifl’s will and harass Plaintiff.

19. T he above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff`. Defendant’s conduct has
caused Plaintiff significant anxiety, emotional distress, frustration, and anger.

20. The above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintil`f.

21 . Defendant’s autodialer calls to Plaintiff’s cell phone caused her headaches

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22. By effectuating these unlawful phone calls, Defendant has caused Plaintiff` the very
harm that Congress sought to prevent-namely, a "nuisance and invasion of privacy."

23. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintist rights and interests in her cellular telephone and cellular telephone line, by intruding
upon Plaintist seclusion.

24. Defendant’s phone calls banned Plaintif`f by wasting her time.

25. Moreover, "wireless customers [like Plaintif’f] are charged for incoming calls
whether they pay in advance or after the minutes are used." ln re: Rules lmplementing the TCPA of
1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls banned Plaintif`f` by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

COUNT l

VIOLATlONS OF THE TELEPHONE COMSUMER PROTECTION ACT
47 U.S.C. § 227 et seq.

26. Plaintifi` incorporates by reference paragraphs 1 through 25 of this Complaint as
though fully stated herein.

27. lt is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned
to a cellular telephone service ...” 47 U.S.C. § 227(b)(l)(A)(iii).

28. The Defendant placed non-emergency telephone calls to Plaintist cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without

Plaintist consent in violation of 47 U.S.C. § 227(b)(l)(A)(iii).

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29. Plaintif`f revoked any prior express consent Defendant had to call Plaintiff’ s cellular
telephone number. As such, the Defendant’s calls were willful or knowing. See 47 U.S.C. §
312(f)(l).

30. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was harmed and is entitled to a minimum of $500 in damages for each violation.

31. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to his cellular telephone - and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiff’s cellular
telephone without prior express consent _ Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff` pursuant to 47 U.S.C. § 227(b)(3).

WI~IEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such further relief as this Court deemsjust and proper.

COUNT ll

VIOLATlONS OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STATUTES § 559.55 et seq.

32. Plaintiff incorporates by reference paragraphs l through 25 of this Complaint as
though fully stated herein.
33. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:
a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.
34. As a result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77

Plaintif`f is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual

damages, plus reasonable attomeys’ fees and costs.

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WHEREFORE, Plaintiff` demands judgment for actual and statutory damages, attomeys’

fees, costs, and such further relief as this Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintif`f` demands a trial by jury on all issues so triable.

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